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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS



KIMBERLY HANSON,                                     )
                                                     )
                       Plaintiff,                    )
                                                     )        CIVIL ACTION
vs.                                                  )
                                                     )        FILE No.
121 PLAZA, LTD.,                                     )
                                                     )
                       Defendant.                    )

                                          COMPLAINT

       COMES NOW, KIMBERLY HANSON, by and through the undersigned counsel, and

files this, her Complaint against Defendant, 121 PLAZA, LTD., pursuant to the Americans with

Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s Accessibility Guidelines, 28

C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff respectfully shows this Court as

follows:

                                        JURISDICTION

       1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendant’s

121 PLAZA, LTD., failure to remove physical barriers to access and violations of Title III of the

ADA.

                                            PARTIES

       2.      Plaintiff KIMBERLY HANSON (hereinafter “Plaintiff”) is and has been at all

times relevant to the instant matter, a natural person residing in Dallas, Texas (Dallas County).

       3.      Plaintiff is disabled as defined by the ADA.

       4.      Plaintiff is required to traverse in a wheelchair and is substantially limited in


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performing one or more major life activities, including but not limited to: walking and standing

       5.      Plaintiff uses a wheelchair for mobility purposes.

       6.      Plaintiff is also an independent advocate of the rights of similarly situated

disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring,

determining and ensuring whether places of public accommodation are in compliance with the

ADA. Her motivation to return to a location, in part, stems from a desire to utilize ADA

litigation to make Plaintiff’s community more accessible for Plaintiff and others; and pledges to

do whatever is necessary to create the requisite standing to confer jurisdiction upon this Court so

an injunction can be issued correcting the numerous ADA violations on this property, including

returning to the Property after it is accessible (“Advocacy Purposes”).

       7.      Defendant, 121 PLAZA, LTD. (hereinafter “121 PLAZA, LTD.”) is a Texas

limited company that transacts business in the State of Texas and within this judicial district.

       8.      Defendant, 121 PLAZA, LTD., may be properly served with process via its

registered agent for service, to wit: c/o Michael A. Sinocola, Registered Agent, 10950 Research,

Frisco, TX 75033.

                                  FACTUAL ALLEGATIONS

       9.      On or about November 1, 2020, Plaintiff was a customer at “SuperThrift City,” a

business located at 1165 S. Stemmons Freeway, Lewisville, TX 75067, referenced herein as

“SuperThrift City”. See photo of Plaintiff’s receipt attached as Exhibit 1. See photo of Plaintiff

at the Property attached as Exhibit 2

       10.     Defendant, 121 PLAZA, LTD., is the owner or co-owner of the real property and

improvements that SuperThrift City is situated upon and that is the subject of this action,

referenced herein as the “Property.”



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       11.     Defendant, 121 PLAZA, LTD., as property owner, is responsible for complying

with the ADA for both the exterior portions and interior portions of the Property. Even if there is

a lease between Defendant, 121 PLAZA, LTD., and a tenant allocating responsibilities for ADA

compliance within the unit the tenant operates, that lease is only between the property owner and

the tenant and does not abrogate the Defendant’s requirement to comply with the ADA for the

entire Property it owns, including the interior portions of the Property which are public

accommodations. See 28 CFR § 36.201(b).

       12.     Plaintiff’s access to the stores located at the shopping plaza, including SuperThrift

City located at 1165 S. Stemmons Freeway, Lewisville, TX 75067, Denton County Property

Appraiser’s property identification number 156258 (“the Property”), and/or full and equal

enjoyment of the goods, services, foods, drinks, facilities, privileges, advantages and/or

accommodations offered therein were denied and/or limited because of her disabilities, and she

will be denied and/or limited in the future unless and until Defendant is compelled to remove the

physical barriers to access and correct the ADA violations that exist at the Property, including

those set forth in this Complaint.

       13.     Plaintiff lives 7 miles from the Property.

       14.     Plaintiff has visited the Property at least once before as a customer and advocate

for the disabled. Plaintiff intends on revisiting the Property within six months after the barriers

to access detailed in this Complaint are removed and the Property are accessible again. The

purpose of the revisit is to be a return customer, to determine if and when the Property are made

accessible and to maintain standing for this lawsuit for Advocacy Purposes.

       15.     Plaintiff intends on revisiting the Property to purchase goods and/or services as a

return customer as well as for Advocacy Purposes, but does not intend to re-expose herself to the



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ongoing barriers to access and engage in a futile gesture of visiting the public accommodation

known to Plaintiff to have numerous and continuing barriers to access.

       16.     Plaintiff travelled to the Property as a customer and as an independent advocate

for the disabled, encountered barriers to access at the Property, suffered legal harm and legal

injury, and will continue to suffer such harm and injury as a result of the illegal barriers to access

present at the Property.


                                       COUNT I
                           VIOLATIONS OF THE ADA AND ADAAG

       17.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

       18.     Congress found, among other things, that:

       (i)     some 43,000,000 Americans have one or more physical or mental
               disabilities, and this number is increasing as the population as a whole is
               growing older;

       (ii)    historically, society has tended to isolate and segregate individuals with
               disabilities, and, despite some improvements, such forms of discrimination
               against individuals with disabilities continue to be a serious and pervasive
               social problem;

       (iii)   discrimination against individuals with disabilities persists in such critical
               areas as employment, housing public accommodations, education,
               transportation, communication, recreation, institutionalization, health
               services, voting, and access to public services;

       (iv)    individuals with disabilities continually encounter various forms of
               discrimination, including outright intentional exclusion, the discriminatory
               effects of architectural, transportation, and communication barriers,
               overprotective rules and policies, failure to make modifications to existing
               facilities and practices, exclusionary qualification standards and criteria,
               segregation, and relegation to lesser service, programs, activities, benefits,
               jobs, or other opportunities; and

       (v)     the continuing existence of unfair and unnecessary discrimination and
               prejudice denies people with disabilities the opportunity to compete on an


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               equal basis and to pursue those opportunities for which our free society is
               justifiably famous, and costs the United States billions of dollars in
               unnecessary expenses resulting from dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       19.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the elimination of
               discrimination against individuals with disabilities;

       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to
               enforce the fourteenth amendment and to regulate commerce, in order to
               address the major areas of discrimination faced day-to-day by people with
               disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       20.      The congressional legislation provided places of public accommodation one and

a half years from the enactment of the ADA to implement its requirements.

       21.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).

       22.     The Property is a public accommodation and service establishment.

       23.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       24.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).


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       25.     The Property must be, but is not, in compliance with the ADA and ADAAG.

       26.     Plaintiff has attempted to, and has to the extent possible, accessed the Property in

her capacity as a customer at the Property and as an independent advocate for the disabled, but

could not fully do so because of her disabilities resulting from the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit her

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       27.     Plaintiff intends to visit the Property again as a customer and as an independent

advocate for the disabled, in order to utilize all of the goods, services, facilities, privileges,

advantages and/or accommodations commonly offered at the Property, but will be unable to fully

do so because of her disability and the physical barriers to access, dangerous conditions and

ADA violations that exist at the Property that preclude and/or limit her access to the Property

and/or the goods, services, facilities, privileges, advantages and/or accommodations offered

therein, including those barriers, conditions and ADA violations more specifically set forth in

this Complaint.

       28.     Defendant, 121 PLAZA, LTD., has discriminated against Plaintiff (and others

with disabilities) by denying her access to, and full and equal enjoyment of the goods, services,

facilities, privileges, advantages and/or accommodations of the Property, as prohibited by, and

by failing to remove architectural barriers as required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

       29.     Defendant, 121 PLAZA, LTD., will continue to discriminate against Plaintiff and

others with disabilities unless and until Defendant, 121 PLAZA, LTD., is compelled to remove

all physical barriers that exist at the Property, including those specifically set forth herein, and



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make the Property accessible to and usable by Plaintiff and other persons with disabilities.

       30.        A specific list of unlawful physical barriers, dangerous conditions and ADA

violations which Plaintiff experienced, observed or subsequently made aware of that precluded

and/or limited Plaintiff’s access to the Property and the full and equal enjoyment of the goods,

services, facilities, privileges, advantages and accommodations of the Property include, but are

not limited to:

ACCESSIBLE ELEMENTS:

       (i)        Near Unit 196, the access aisle to the accessible parking space is not level due to

                  the presence of an accessible ramp in the access aisle in violation of Section 502.4

                  of the 2010 ADAAG standards. This violation would make it dangerous and

                  difficult for Plaintiff to exit and enter their vehicle while parked at the Property.

       (ii)       Near Unit 196, the accessible curb ramp is improperly protruding into the access

                  aisle of the accessible parking space in violation of Section 406.5 of the 2010

                  ADAAG Standards. This violation would make it difficult and dangerous for

                  Plaintiff to exit/enter their vehicle.

       (iii)      Near Unit 196, the ground surfaces of the two accessible spaces have vertical rises

                  in excess of ¼ (one quarter) inch in height, are not stable or slip resistant, have

                  broken or unstable surfaces or otherwise fail to comply with Sections 302, 303

                  and 502.4 of the 2010 ADAAG standards. This violation would make it

                  dangerous and difficult for Plaintiff to access the units of the Property.

       (iv)       Due to a failure to enact an adequate policy of maintenance, the accessible

                  parking spaces and associated access aisle near Unit 196 are improperly marked

                  as it is difficult to see the markings defining the width of the accessible parking



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             spaces and access aisle in violation of section 502.2 of the 2010 ADAAG

             Standards.

    (v)      Near Unit 176, there are two accessible parking spaces that does not have a

             marked access aisle in violation of Section 502.3.3 of the 2010 ADAAG

             standards. This violation would make it dangerous and difficult for Plaintiff to

             access the accessible entrances of the Property.

    (vi)     Near Unit 176, there are two accessible parking spaces not located on the shortest

             distance to the accessible route leading to the accessible entrances in violation of

             Section 208.3.1 of the 2010 ADAAG Standards. This violation would make it

             difficult for Plaintiff to access the units of the Property.

    (vii)    Near Unit 176, there are accessible parking spaces where the ground surfaces of

             the accessible spaces have vertical rises in excess of ¼ (one quarter) inch in

             height, are not stable or slip resistant, have broken or unstable surfaces and

             unlevel surfaces which promote puddling in violation of Sections 302, 303 and

             502.4 of the 2010 ADAAG standards. This violation would make it dangerous

             and difficult for Plaintiff to access the units of the Property from these accessible

             parking spaces.

    (viii)   Near Unit 176, of the four accessible parking spaces present at this location, the

             two interior accessible parking spaces have identification signs where the bottom

             edge of the sign has a height below 60 inches from the finished floor in violation

             of section 502.6 of the 2010 ADAAG Standards.




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    (ix)     Nearest Unit 176, the accessible ramp side flares have a slope in excess of 1:10 in

             violation of Section 406.3 of the 2010 ADAAG standards. This violation would

             make it dangerous and difficult for Plaintiff to access the units of the Property.

    (x)      Near Unit 152, the access aisle to the accessible parking space is not level due to

             the presence of an accessible ramp in the access aisle in violation of Section 502.4

             of the 2010 ADAAG standards. This violation would make it dangerous and

             difficult for Plaintiff to exit and enter their vehicle while parked at the Property.

    (xi)     Near Unit 152, the accessible curb ramp is improperly protruding into the access

             aisle of the accessible parking space in violation of Section 406.5 of the 2010

             ADAAG Standards. This violation would make it difficult and dangerous for

             Plaintiff to exit/enter their vehicle.

    (xii)    Across the vehicular way from the Antique Gallery Tea Room, the access aisle

             serving the accessible parking spaces has a width that decreases below 60 inches

             and is therefore in violation of Section 502.3.1 of the 2010 ADAAG standards.

             This violation would make it dangerous and difficult for Plaintiff to exit and enter

             their vehicle while parked at the Property.

    (xiii)   Across the vehicular way from the Antique Gallery Tea Room, there are three

             accessible parking spaces not located on the shortest distance to the accessible

             route leading to the accessible entrances in violation of Section 208.3.1 of the

             2010 ADAAG Standards. This violation would make it difficult for Plaintiff to

             access the units of the Property.

    (xiv)    Adjacent to the Antique Gallery Tea Room, the access aisle serving the accessible

             parking space has a width that decreases below 60 inches and is therefore in



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             violation of Section 502.3.1 of the 2010 ADAAG standards. This violation would

             make it dangerous and difficult for Plaintiff to exit and enter their vehicle while

             parked at the Property.

     (xv)    Directly north of the Antique Tea Room Entrance, there are two accessible

             parking spaces that does not have a marked access aisle in violation of Section

             502.3.3 of the 2010 ADAAG standards. This violation would make it dangerous

             and difficult for Plaintiff to access the accessible entrances of the Property.

     (xvi)   Directly north of the Antique Tea Room Entrance, two accessible parking spaces

             are not located on the shortest distance to the accessible route leading to the

             accessible entrances in violation of Section 208.3.1 of the 2010 ADAAG

             Standards. This violation would make it difficult for Plaintiff to access the units of

             the Property.

     (xvii) Directly north of the Antique Tea Room Entrance, two accessible parking spaces

             are not located on an accessible route leading to the accessible entrances in

             violation of Section 208.3.1 of the 2010 ADAAG Standards due to the presence

             of a large speed bump with surface slopes in excess of 1:10, which blocks the

             access route when a vehicle is parked in the parking space adjacent to the speed

             bump. This violation would make it difficult and dangerous for Plaintiff to access

             the units of the Property from these two accessible parking spaces.

     (xviii) Directly north of the Antique Tea Room Entrance, there are three accessible

             parking spaces where the bottom edge of the sign identifying the accessible

             parking spaces is at a height below 60 inches from the floor in violation of




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             Section 502.6 of the 2010 ADAAG standards. This violation would make it

             difficult for Plaintiff to locate an accessible parking space.

     (xix)   Near Unit 114, the access aisle to the accessible parking space is not level due to

             the presence of an accessible ramp in the access aisle in violation of Section 502.4

             of the 2010 ADAAG standards. This violation would make it dangerous and

             difficult for Plaintiff to exit and enter their vehicle while parked at the Property.

     (xx)    Near Unit 114, the accessible curb ramp is improperly protruding into the access

             aisle of the accessible parking space in violation of Section 406.5 of the 2010

             ADAAG Standards. This violation would make it difficult and dangerous for

             Plaintiff to exit/enter their vehicle.

     (xxi)   Near Unit 114, the accessible parking space is missing an identification sign in

             violation of Section 502.6 of the 2010 ADAAG standards. This violation would

             make it difficult for Plaintiff to locate an accessible parking space.

     (xxii) In front of the Lakeland Plaza office building, there is an accessible parking space

             where a three inch high curb intrudes into the access aisle making it unlevel in

             violation of Section 502.4 of the 2010 ADAAG standards. This violation would

             make it dangerous and difficult for Plaintiff to exit and enter their vehicle while

             parked at the Property.

     (xxiii) In front of the Lakeland Plaza office building, there is an accessible parking space

             not located on the shortest distance to the accessible route leading to the

             accessible entrances in violation of Section 208.3.1 of the 2010 ADAAG

             Standards. This violation would make it difficult for Plaintiff to access the units of

             the Property.



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       (xxiv) Defendant fails to adhere to a policy, practice and procedure to ensure that all

                 facilities are readily accessible to and usable by disabled individuals.

       31.       The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Property.

       32.       Plaintiff requires an inspection of the Property in order to determine all of the

discriminatory conditions present at the Property in violation of the ADA.

       33.       The removal of the physical barriers, dangerous conditions and ADA violations

alleged herein is readily achievable and can be accomplished and carried out without significant

difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

       34.       All of the violations alleged herein are readily achievable to modify to bring the

Property into compliance with the ADA.

       35.       Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because the nature and cost of

the modifications are relatively low.

       36.       Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because Defendant, 121

PLAZA, LTD., has the financial resources to make the necessary modifications since the

Property is valued at $21,961,759.00 according to the Property Appraiser website.

       37.       The removal of the physical barriers and dangerous conditions present at the

Property is also readily achievable because Defendant has available to it a $5,000.00 tax credit

and up to a $15,000.00 tax deduction available from the IRS for spending money on accessibility

modifications.

       38.       Upon information and good faith belief, the Property have been altered since



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2010.

        39.    In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

standards apply, and all of the alleged violations set forth herein can be modified to comply with

the 1991 ADAAG standards.

        40.    Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that she will continue to suffer irreparable harm unless and until

Defendant, 121 PLAZA, LTD., is required to remove the physical barriers, dangerous conditions

and ADA violations that exist at the Property, including those alleged herein.

        41.    Plaintiff’s requested relief serves the public interest.

        42.    The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendant, 121 PLAZA, LTD.

        43.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of

litigation from Defendant, 121 PLAZA, LTD., pursuant to 42 U.S.C. §§ 12188 and 12205.

        44.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendant, 121

PLAZA, LTD., to modify the Property to the extent required by the ADA.

        WHEREFORE, Plaintiff prays as follows:

        (a)    That the Court find Defendant, 121 PLAZA, LTD., in violation of the ADA and

               ADAAG;

        (b)    That the Court issue a permanent injunction enjoining Defendant, 121 PLAZA,

               LTD., from continuing their discriminatory practices;

        (c)    That the Court issue an Order requiring Defendant, 121 PLAZA, LTD., to (i)

               remove the physical barriers to access and (ii) alter the subject Property to make it



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           readily accessible to and useable by individuals with disabilities to the extent

           required by the ADA;

     (d)   That the Court award Plaintiff her reasonable attorneys' fees, litigation expenses

           and costs; and

     (e)   That the Court grant such further relief as deemed just and equitable in light of the

           circumstances.

     Dated: November 5, 2020.
                                         Respectfully submitted,

                                         Law Offices of
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